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                       IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

RODERICK LUJAN, as Personal
Representative of the Estate of CLEOTILDE URIOSTE,

               Plaintiff,

vs.                                                 No. _________________________

CORPORATION X, CORPORATION Y,
VISTA LIVING COMMUNITIES, LLC,
AN OHIO COMPANY, d/b/a THE ARBORS OF DEL REY,
JESUS ROBERTO DURAN, M.D.,
JOHN DOES 1-5 and JANE DOES 1-5,

               Defendants.


  NOTICE OF REMOVAL OF DEFENDANT VISTA LIVING COMMUNITIES, LLC,
           AN OHIO COMPANY, d/b/a THE ARBORS OF DEL REY


       Defendant Vista Living Communities, LLC, an Ohio company, d/b/a The Arbors of Del Rey

(“Defendant Vista”), by and through its counsel, Dixon, Scholl and Bailey, P.A. (Steven S. Scholl

and Matthew Hironaka), hereby remove this action from the Fourth Judicial District Court, County

of San Miguel, New Mexico to the United State District Court for the District of New Mexico

pursuant to 28 U.S.C. § 1441(b). As grounds for removal, Defendant Vista states the following:

                            NATURE OF ACTION AND SERVICE

       1.      Plaintiff Roderick Lujan, as Personal Representative of the Estate of Cleotiled

Urioste (“Plaintiff”), initiated this action on February 8, 2011, in the Fourth Judicial District

Court, County of San Miguel, New Mexico (No. D-412-CV-2011-00075) by filing a “Complaint to

Recover Damages for Personal Injuries and Wrongful Death Arising out of Negligence, Medical

Negligence, Misrepresentation, Breach of Contract, Unfair Trade Practices, Negligent Infliction of
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Emotional Distress, Violation of the Resident Abuse and Neglect Act, and Loss of Consortium”

(“Complaint”).

       2.        Attached hereto collectively as Exhibit A is a copy of the all process, pleadings, and

orders served on Defendant Vista in accordance with 28 U.S.C. § 1446(a) and D.N.M.LR-Civ.

81.1(a).

       3.        Defendant Vista’s registered agent CT Corporation, received a Summons and copy

of the Complaint by mail on March 30, 2011.

       4.        As of April 28, 2011, no Return of Summons has been filed for any of the named

Defendants. Affidavit of Steven S. Scholl (“Scholl Affidavit”), a copy of which is attached hereto

as Exhibit B, ¶¶3-5, 7-12.

       5.        As of April 28, 2011, the Court Clerk has not issued Summonses for Corporation X,

Corporation Y, John Does 1-5 or Jane Does 1-5. Id. at ¶12.

       6.        Defendant Jesus Roberto Duran, M.D., has not been served with process nor

otherwise received a copy of the Complaint. Id. at ¶5.

       7.        Pursuant to 28 U.S.C. § 1446(b), this Notice of Removal is timely filed within thirty

days after receipt of Plaintiff’s Complaint.

                                   GROUNDS FOR REMOVAL

       8.        Defendants may remove “any civil action brought in a State court of which the district

courts of the United State have original jurisdiction.” 28 U.S.C. § 1441(a). The United States

District Court for the District of New Mexico has original jurisdiction over this action pursuant to

the following:



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       a.      Citizenship of the Parties properly joined and served.

       9.      The district courts have original jurisdiction of civil matters between citizens of

different states. 28 U.S.C. § 1332(a)(1).

       10.     A civil action shall be removable “if none of the parties in interest properly joined

and served as defendants is a citizen of the State in which such action is brought.” 28 U.S.C. §

1441(b).

       11.     As of April 28, 2011, Plaintiff has served only Defendant Vista in the state court

action. Scholl Affidavit at ¶¶5-12.

       12.     Defendant Vista is organized under the laws of the State of Ohio with its principal

place of business in Toledo, Ohio.       See the New Mexico Public Regulations Commission

information on Vista Living Communities, LLC, Ohio Foreign Limited Liability Company attached

hereto as Exhibit C.

       13.     The deceased, Cleotilde Urioste, was a citizen of the State of New Mexico at the time

of her death. Compl., ¶3.

       14.     The Personal Representative of the Estate of Cleotilde Urioste, Roderick Lujan, is a

citizen of the State of New Mexico. 28 U.S.C. § 1332(c)(2) ([T]he legal representative of the estate

of a decedent shall be deemed to be a citizen only of the same State as the decedent....”)

       15.     As such, complete diversity exists between Plaintiff and Defendant Vista and this

action is properly removed by Defendant Vista as no citizens of New Mexico have been properly

joined and served as defendants in this action. 28 U.S.C. § 1441(b).




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       b.      Amount in Controversy.

       16.     “The amount in controversy is ordinarily determined by the allegations of the

complaint, or, where they are not dispositive, by allegation in the notice of removal. Laughlin v.

Kmart Corp., 50 F.3d 871, 873 (10th Cir. 1995).

       17.     In cases where plaintiff’s state court complaint fails to identify a specific amount

plaintiff seeks to recover, “[a] defendant must affirmatively establish jurisdiction by proving

jurisdictional facts that ma[ke] it possible that $75,000 [i]s in play.” McPhail v. Deere & Co., 529

F.3d 947, 955 (10th Cir.2008).

       18.     In a wrongful death case, “the complaint on its face may be sufficient by itself to

support removal.” Id. at 957; see also Evett v. Consolidated Freightways Corp., 110 F.Supp.2d 510

(E.D.Tex.2000) (recognizing that where complaint did not specifically state dollar amount of

damages sought, the serious and permanent nature of the alleged injuries make it readily apparent

that damages could easily exceed $75,000.)

       19.     In this case, Plaintiff has not asserted a specific amount in the Complaint that Plaintiff

seeks to recover. See generally Compl. Plaintiff’s Complaint on its face, however, including but

not limited to the allegations asserted in Count I - Negligence and Medical Negligence, more than

demonstrate the amount in controversy more likely than not exceeds $75,000.00.

       20.     Plaintiff’s claim for Negligence and Medical Negligence alleges that Defendant

Vista’s acts or omission were “more ordinarily negligent, and were grossly negligent, willful,

wanton, reckless and disregardful” and caused the decedent, Cleotilde Urioste, “to suffer serious

injuries, emotional and physical pain and suffering, various medical complications, medical related



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expenses, loss of enjoyment of life and premature death....” Compl. at ¶11. Similarly in McPhail,

the plaintiff’s complaint alleged plaintiff’s husband suffered “severe bodily injuries which in turn

led to permanent and progressive injury and his wrongful death.” McPhail, 529 F.3d at 957.

(Internal quotation omitted). Like the complaint in McPhail, the Plaintiff’s Complaint, because of

the allegation and the nature of the damages sought therein, on its face is sufficient to support

removal. See Id.

       21.     In addition, Plaintiff’s prayer for relief seeks “all damages available under the

Wrongful Death Act and other statutory violations....” Compl. at prayer for relief. N.M.S.A. § 41-

2-3 provides “that the jury in every such action may give such damages, compensatory and

exemplary, as they deem fair and just, taking into consideration the pecuniary injury resulting from

the death to the surviving party entitled to the judgment, or any interest in the judgment, recovered

in such action and also having regard to the mitigating or aggravating circumstances attending the

wrongful act, neglect or default.” Plaintiff’s prayer for relief under the Wrongful Death Act sets

forth the nature and extent of damages a plaintiff may recover and further establishes jurisdictional

facts that make it possible that the amount in controversy exceeds $75,000.00.

       22.     Finally, undersigned counsel has reviewed the allegations and claims asserted in

Plaintiff’s Complaint and, based upon twenty-two (22) years of practicing law in New Mexico,

having tried over fifty (50) cases in both New Mexico State courts and the United States District

Court for the District of New Mexico and having litigated approximately one hundred (100) medical

malpractice lawsuits, undersigned counsel’s opinion is that the amount in controversy exceeds the

sum or value of $75,000.00, exclusive of interest and costs. Scholl Affidavit at ¶14.



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       23.     Given the diversity of the relevant parties and an amount in controversy in excess of

$75,000.00, this Court has jurisdiction over the claims asserted in this action pursuant to 28 U.S.C.

§ 1332, and this action is properly removable pursuant to 28 U.S.C. § 1441(b).

                                   CONSENT AND NOTICE

       24.     Defendant Vista is the only party to have been served with process in the state court

action and, thus, has not sought the consent of the removal of this action.

       25.     Written notice of the filing of this Notice of Removal is being delivered to Plaintiff

through his counsel. A copy of this Notice of Removal will be promptly filed with the Clerk of

Court, Fourth Judicial District Court, County of San Miguel, New Mexico.

       WHEREFORE, Defendant Vista Living Communities, LLC, an Ohio company, d/b/a The

Arbors of Del Rey respectfully requests that this action be removed from the Fourth Judicial District

Court, County of San Miguel, New Mexico to the United State District Court for the District of New

Mexico.

                                              Respectfully Submitted,

                                              Dixon, Scholl & Bailey, P.A.


                                              By /s/ Steven S. Scholl
                                                 Steven S. Scholl
                                                 Matthew Hironaka
                                                 DIXON, SCHOLL & BAILEY, P.A.
                                                 Attorneys for Defendant Vista Living
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